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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
Gregory V. Demo (NY Bar 5371992) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachary Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for the Reorganized Debtor

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                §
 In re:                                                         § Chapter 11
                                                                §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           § Case No. 19-34054-sgj11
                                                                §
                             Reorganized Debtor.                §

                        OMNIBUS NOTICE OF HEARING ON FINAL
                 APPLICATIONS FOR COMPENSATION AND REIMBURSEMENT
                        OF EXPENSES OF ESTATE PROFESSIONALS

TO:       (a) the Office of the United States Trustee; (b) the Office of the United States Attorney for
          the Northern District of Texas; (c) counsel to the Committee; (d) the Debtor’s principal
          secured parties; and (e) parties requesting notice pursuant to Bankruptcy Rule 2002.




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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         PLEASE TAKE NOTICE that a hearing on the final applications (the “Applications”) of

certain professionals employed in the above-captioned case (the “Estate Professionals”) for final

approval of compensation and reimbursement of expenses as reflected in the chart on Exhibit A

annexed hereto is scheduled for Tuesday, November 9, 2021 at 9:30 a.m. (Central Time) (the

“Hearing”).

         The Hearing on the Applications will be held via WebEx videoconference before The

Honorable Stacey G. C. Jernigan, United States Bankruptcy Judge. The WebEx video

participation/attendance link for the Hearing is: https://us-courts.webex.com/meet/jerniga.

         A copy of the WebEx Hearing Instructions for the Hearing is attached hereto as Exhibit

B; alternatively, the WebEx Hearing Instructions for the Hearing may be obtained from Judge

Jernigan’s      hearing/calendar   site   at:   https://www.txnb.uscourts.gov/judges-info/hearing-

dates/judgejernigans-hearing-dates.

         PLEASE TAKE FURTHER NOTICE that copies of the Applications are on file with

the Clerk of the Court and are available for inspection during the Court’s normal business hours

and may also be obtained free of charge from the Reorganized Debtor’s claims and noticing agent,

Kurtzman Carson Consultants LLC at http://www.kccllc.net/hcmlp, or upon request to the Estate

Professional at the address set forth in the chart below.

         PLEASE TAKE FURTHER NOTICE that any response (each, a “Response”) to the

relief requested in the Applications shall be filed with the Clerk of the Court on or before the date

listed in the column titled “Objection Deadline” (the “Response Deadline”).

         PLEASE TAKE FURTHER NOTICE that the Reorganized Debtor and/or the Estate

Professionals may, at their option, file and serve a reply to any Response by no later than 5:00

p.m. (Central Time) three (3) days prior to the Hearing.




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          PLEASE TAKE FURTHER NOTICE that the compensation and reimbursement

requested by the Estate Professionals in the Applications is set forth on Exhibit A annexed

hereto.


 Dated: October 12, 2021.                    HAYWARD PLLC


                                            /s/ Zachery Z. Annable
                                            Melissa S. Hayward
                                            Texas Bar No. 24044908
                                            MHayward@HaywardFirm.com
                                            Zachery Z. Annable
                                            Texas Bar No. 24053075
                                            ZAnnable@HaywardFirm.com
                                            10501 N. Central Expy, Ste. 106
                                            Dallas, Texas 75231
                                            Tel: (972) 755-7100
                                            Fax: (972) 755-7110

                                            -and-

                                            PACHULSKI STANG ZIEHL & JONES LLP

                                            Jeffrey N. Pomerantz (CA Bar No.143717)
                                            (admitted pro hac vice)
                                            Ira D. Kharasch (CA Bar No. 109084)
                                            (admitted pro hac vice)
                                            Gregory V. Demo (NY Bar 5371992)
                                            (admitted pro hac vice)
                                            10100 Santa Monica Blvd., 13th Floor
                                            Los Angeles, CA 90067
                                            Tel.: (310) 277-6910
                                            Fax: (310) 201-0760
                                            E-mail:      jpomerantz@pszjlaw.com
                                                         ikharasch@pszjlaw.com
                                                         gdemo@pszjlaw.com

                                            Counsel for the Reorganized Debtor




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                                   EXHIBIT A




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                                               Docket    Objection    Compensation      Fees             Expenses
                   Professional                                                                                            Total
                                                No.      Deadline        Period       Requested          Requested
Debtor’s Counsel
PACHULSKI STANG ZIEHL & JONES LLP               2906      11/02/21     10/16/19 –    $23,978,627.25      $334,232.95   $24,312,860.20
Jeffrey N. Pomerantz, Esq.                                             08/10/21
10100 Santa Monica Blvd., 15th Flr.
Los Angeles, CA 90067
Telephone: (310) 277-6910
Debtor’s Local Counsel
HAYWARD PLLC                                    2910      11/02/21     12/10/19 –     $825,629.50         $46,482.92     $872,112.42
Zachery Z. Annable, Esq.                                               08/11/21
10501 North Central Expy., Suite 106
Dallas, TX 75231
Telephone: (972) 755-7100
Debtor’s Regulatory & Compliance Counsel
WILMER CUTLER PICKERING HALE &                  2907      11/02/21     10/16/19 –    $2,645,729.72        $5,207.53    $2,650,937.25
DORR LLP                                                               08/11/21
Timothy F. Silva
60 State Street
Boston, MA 02109
Telephone: (617) 526-6502
Debtor’s Tax Services Provider
DELOITTE TAX LLP                                2911      11/02/21     10/16/19 –     $553,412.60           $0.00        $553,412.60
Todd Crawford                                                          08/11/21
1111 Bagby Street, Suite 4500
Houston, TX 77002-2591
Telephone: (713) 982-4048
Debtor’s Compensation Consultant
                                                2908      11/02/21     11/15/19 –     $202,317.65         $2,449.37      $204,767.02
MERCER (US) INC.
                                                                       08/10/21
John Dempsey
1166 Avenue of the Americas
New York, NY
Telephone: 212.345.7000
Debtors’ Special Counsel
HUNTON ANDREWS KURTH LLP                        2872      11/02/21     07/01/20 –    $1,147,059.42        $2,747.84    $1,149,807.26
Gregory G. Hesse                                                       08/11/21
1445 Ross Avenue, Suite 3700
Dallas, TX 75202




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                                                  Docket   Objection   Compensation      Fees             Expenses
                   Professional                                                                                             Total
                                                   No.     Deadline       Period       Requested          Requested
Committee Counsel
SIDLEY AUSTIN LLP                                  2904     11/02/21    10/29/19 –    $13,134,805.20      $211,841.25   $13,346,646.45
Elliot A. Bromagen, Esq./ Juliana Hoffman, Esq.                         08/11/21
One South Dearborn Street
Chicago, IL 60603
Telephone: (312) 853-7000
Committee Financial Advisor
FTI CONSULTING                                     2902     11/02/21    11/06/19 –    $6,176,551.20        $39,122.91   $6,215,674.11
Conor P. Tully                                                          08/11/21
Three Times Square
New York, NY 10036
Telephone: (212)-841-9335
Committee Litigation Advisor
Teneo Capital, LLC                                 2903     11/02/21    04/15/21 –    $1,358,565.52        $6,257.07    $1,364,822.59
Gary Polkowitz                                                          08/11/21
280 Park Avenue, 4th Floor
New York, NY 10017
Telephone: (212) 593-2255




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                               WebEx Hearing Instructions
                                     Judge Stacey G. Jernigan
Pursuant to General Order 2020-14 issued by the Court on May 20, 2020, all hearings before Judge Stacey
G. Jernigan are currently being conducted by WebEx videoconference unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/jerniga

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1.650.479.3207
Meeting ID: 479 393 582

Participation/Attendance Requirements:
•       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged
        to attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and
        other parties in interest who will not be seeking to introduce any evidence at the hearing and who
        wish to attend the hearing in a telephonic only mode may attend the hearing in the WebEx
        telephonic only mode using the WebEx dial-in and meeting ID above.
•       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please
        be advised that a hearing may already be in progress. During hearings, participants are required to
        keep their lines on mute at all times that they are not addressing the Court or otherwise actively
        participating in the hearing. The Court reserves the right to disconnect or place on permanent
        mute any attendee that causes any disruption to the proceedings. For general information and
        tips with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04: https://
        www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
•       Witnesses are required to attend the hearing in the WebEx video mode and live testimony
        will only be accepted from witnesses who have the WebEx video function activated.
        Telephonic testimony without accompanying video will not be accepted by the Court.
•       All WebEx hearing attendees are required to comply with Judge Jernigan’s Telephonic
        and Videoconference Hearing Policy (included within Judge Jernigan’s Judge-Specific
        Guidelines): https://www.txnb.uscourts.gov/content/judge-stacey-g-c-jernigan

Exhibit Requirements:
       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in
        the case with a true and correct copy of each designated exhibit filed as a separate, individual
        attachment thereto so that the Court and all participants have ready access to all designated exhibits.
       If the number of pages of such exhibits exceeds 100, then such party must also deliver two (2) sets
        of such exhibits in exhibit binders to the Court by no later than twenty-four (24) hours in advance
        of the hearing.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
•       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice
        that the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above
        WebEx video participation/attendance link, and (3) attach a copy of these WebEx Hearing
        Instructions or provide notice that they may be obtained from Judge Jernigan's hearing/calendar
        site: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-jernigans-hearing-dates.
•       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/jerniga” as the location of the hearing (note: this option appears
        immediately after the first set of Wichita Falls locations). Do not select Judge Jernigan's Dallas
        courtroom as the location for the hearing.
